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 5
 6
 7
                                          UNITED STATES DISTRICT COURT
 8                                       NORTHERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                                )            Case Number __________
      Richard Sepulveda,                          )
11                                                )
                                                  )
12                    Plaintiff,                  )
                                                  )            CIVIL RIGHTS
13    Vs.                                         )
                                                  )            COMPLAINT FOR INJUNCTIVE RELIEF
14                                                )            AND DAMAGES: DENIAL OF CIVIL
      Costas Bournazos, Trustee, individually and )            RIGHTS OF A DISABLED PERSON, IN
15    dba Save Mart Plus and dba AL Market;       )            VIOLATION OF THE AMERICANS WITH
      Sophie Bournazos, Trustee, individually and )            DISABILITIES ACT OF 1990 AS
16    dba Save Mart Plus and dba AL Market; and )              AMENDED, AND VIOLATION OF
                                                  )            CALIFORNIA’S CIVIL RIGHTS
17    Does 1 to 50,                               )            STATUTES
                                                  )
18                       Defendants.              )            JURY TRIAL REQUESTED
19
20
21    Plaintiff herein complains of defendants herein, and alleges as follows:
22
23                                                 JURISDICTION AND VENUE

24    1.   This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331
25         for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).
26         Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
27         facts, action is also bought under California law, including, but not limited to, violations of
28         California Government Code §4450; California Health and Safety Code §19953 et seq., and
     ___________________________________________________________________________________________________________


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 1         applicable regulations, including but not limited to California Code of Regulations, Title 24,
 2         §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. During the
 3         periods relevant to this complaint, defendants Costas Bournazos, Trustee, and Sophie
 4         Bournazos, Trustee, owned and operated the business using the name “Save Mart Plus” aka
 5         “AL Market” at 2736 35th Avenue, Oakland, California in this judicial district. On information
 6         and belief, during the periods relevant to this complaint, defendants Costas Bournazos and
 7         Sophie Bournazos, owned and own the real property on which this business is operated in this
 8         judicial district.
 9    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
10         real property that is the subject of this action is located in this district, and that plaintiff’s cause

11         of action arose in this district.

12
                                                    INTRODUCTION
13
14
      3. Save Mart Plus aka AL Market (the “Business”) is located at 2736 35th Avenue, Oakland,
15
           California. During the relevant periods in this lawsuit, said business was and is owned and
16
           operated by defendants Costas Bournazos and Sophie Bournazos. On information and belief,
17         during the relevant periods in this lawsuit, the real property was and is owned by defendants
18         Costas Bournazos and Sophie Bournazos. The Business is a “public accommodation and
19         business establishment” subject to California Health and Safety Code §19955 et seq. and
20         California Civil Code §54. On information and belief, this Business has, since July 1, 1970,

21         undergone construction and/or “alterations, structural repairs, or additions,” subjecting such
           facility to disabled access requirements per Health and Safety Code §19955 to 19959 et seq.
22
           Construction and alterations since July 1, 1982 also subjected these facilities to the
23
           requirements of California’s Title 24, the State Building Code. Further, irrespective of
24
           alternation history, such premises are subject to the “readily achievable” barrier removal
25
           requirements of Title III of the Americans with Disabilities Act of 1990.
26
      4. Defendants Costas Bournazos and Sophie Bournazos operated and operate the Business, an
27         establishment for services to the public at which business and location said defendants failed
28
     ___________________________________________________________________________________________________________


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 1         to provide barrier-free access to said establishment as required under federal and California
 2         state law. Further, defendants failed to provide compliance with the law as follows:

 3              a. Exterior and Interior: The path of travel from the public sidewalk to the entrance had a
                     slope of more than two percent, in violation of the rules for an “Accessible Route,”
 4
                     ADAAG 4.3(1) (1991 standards), ADAAG 206.2.1 and 402, 402.2 (slope 1:20)(2010
 5
                     standards), and ADAAG 303 (1/4 inch change in level) (2010 standards), as well as
 6
                     California Building Code (“CBC”) 11B-206.2.1, 11B-403.4 (changes of
 7
                     level)(referencing 11B-303 “Changes in level,” ¼ inch max). In fact, there was a step
 8
                     up of about 8 inches high.
 9              b. Interior: The service counter for sales was more than 36 inches high and less than 36
10                   inches wide, in violation of ADAAG 7.2(1) (1991 standards) and 904.4 (2010
11                   standards, and CBC 11B-904.3.2 and 11B-904.4.1.
12              c. Interior: Some of the aisles inside the Business were too narrow and caused difficulty

13                   to move about, turn at the end of aisles, and shop. In some places, the aisles were less
                     than 36 inches wide, and also less than 44 inches wide when serving both sides, and
14
                     less than 48 inches at the turns, in violation of ADAAG 4.2 and 4.3 (1991), ADAS
15
                     403.5.1 (2010), and CBC 11B-403.5.1 and CBC 11B-403.5.2. This made it more
16
                     difficult and laborious for plaintiff to move about and shop, as he had to be careful to
17
                     avoid bumping into displayed products and knocking them to the floor. Also, he
18
                     observed the employee of the Business watching him with concern as he moved in the
19                   aisles. This made him feel embarrassed.
20    5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
21         continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has
22         suffered and suffers violations of his civil rights to full and equal enjoyment of goods,

23         services, facilities and privileges, and has suffered and will suffer embarrassment and
           humiliation.
24
25
                                                   FACTUAL ALLEGATIONS
26
27
      6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a
28
           “physically disabled person,” and a “person with a disability” as those terms are used under
     ___________________________________________________________________________________________________________


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 1         applicable California law and under applicable federal law, including, but not limited to, Title
 2         III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped

 3         person,” a “physically disabled person,” and a “person with a disability” will be used
           interchangeably throughout this complaint.) Plaintiff is limited in the use of his legs and must
 4
           use a walker.
 5
      7. Defendants Costas Bournazos and Sophie Bournazos at all times relevant herein, were and are
 6
           the owner, operator, lessor, and/or lessee, franchisor and/or franchisee, of public facilities at
 7
           the Business, known and operated as “Save Mart Plus,” located at 2736 35th Avenue, Oakland,
 8
           California, subject to California state law requiring full and equal access to public facilities
 9         pursuant to California Health and Safety Code §19955 et seq., California Civil Code §§ 51,
10         51.5, 52(a), 52.1, 54, 54.1, and 54.3, and subject to Title III of the Americans with Disabilities
11         Act of 1990, and to all the other legal requirements referred to in this complaint. Plaintiff does
12         not know the relative responsibilities of the defendants in the operation of the Business

13         facilities complained of herein, and alleges a joint venture and common enterprise by all such
           defendants.
14
      8. Defendants Costas Bournazos and Sophie Bournazos, at all times relevant herein was and is
15
           owner, operator, possessor, builder and keeper of the Business called Save Mart Plus in the
16
           city of Oakland, California. Plaintiff is informed and believes that each of the defendants
17
           herein is the agent, employee, or representative of each of the other defendants, and performed
18
           acts and omissions as stated herein within the scope of such agency or employment or
19         representative capacity and is responsible in some manner for the acts and omissions of the
20         other defendants in legally causing the damages complained of herein, and have approved or
21         ratified each of the acts or omissions of each other defendant, as herein described.
22    9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their

23         business capacities, their ownership connection to the property and the business, nor their
           relative responsibilities or relationships among one another in causing the access violations
24
           herein complained of, and alleges a joint venture and common enterprise among all
25
           defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,
26
           ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
27
           joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
28
           and was at all times acting and performing, or failing to act or perform, with the authorization,
     ___________________________________________________________________________________________________________


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 1         consent, permission or ratification of each of the other defendants, and is responsible in some
 2         manner for the acts and omissions of the other defendants in legally causing the violations and

 3         damages complained of herein, and have approved or ratified each of the acts or omissions of
           each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint
 4
           when the true names, capacities, connections and responsibilities of defendants are
 5
           ascertained.
 6
      10. Plaintiff is informed and believes that all named defendants, aided and abetted one another in
 7
           the performance of the wrongful acts or omissions hereinafter complained of.
 8
      11. Defendants are the owners of the property and operators of the Business called Save Mart Plus
 9         located in the city of Oakland, California. This business, including, but not limited to, access
10         aisles and access routes, is or forms a part of a “public accommodation or facility” subject to
11         the requirements of California Health & Safety Code §19955, et seq., and of California Civil
12         Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or portions of it,

13         was constructed or altered after 1990, and after January 26, 1993, which fact has subjected the
           business to handicapped access requirements per California Code of Regulations Title 24 (the
14
           State Building Code).
15
      12. On April 19, 2022, May 20, 2022, June 13, 2022, and July 24, 2022, Plaintiff went to the
16
           Business to buy food and drink. (These dates, together, the “Visit Dates.”) Defendants
17
           interfered with Plaintiff’s access to the Business as set forth herein, and is still deterred from
18
           returning due to these conditions.
19    13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
20         facilities as required under state and federal law.
21    14. Plaintiff’s home in Oakland, California is approximately 4 miles from the Business located in
22         the city of Oakland. Plaintiff travels regularly to and through said city on business and

23         pleasure trips. Plaintiff plans to return to the Business when this public accommodation is
           made accessible.
24
      15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
25
           and believes that the architectural barriers described herein violate the California Code of
26
           Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
27
           (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
28
     ___________________________________________________________________________________________________________


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 1         and thereby deny Plaintiff and others similarly situated full and equal access to the Business
 2         facilities as set forth herein.

 3    16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
           his physical disability, and interfered with his access to the Business and its facilities, in
 4
           violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
 5
           of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the
 6
           “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities
 7
           Act of 1990.
 8
      17. As a result of the actions and failure to act of defendants, and each of them, and as a result of
 9         the failure to provide proper and accessible entryways, and accessible accommodations for a
10         business such as this, Plaintiff suffered and will suffer the loss of his civil rights to full and
11         equal access to public facilities, and further has suffered in the past and will suffer in the future
12         emotional distress, mental distress, mental suffering, mental anguish, which includes shame,

13         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
           naturally associated with a person with a disability being denied access to a public
14
           accommodation, all to his damages as prayed hereinafter in an amount within the jurisdiction
15
           of this court.
16
17
           I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
18
                     DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)
19
20    18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
21         allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
22         pled.

23    19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101

24         regarding persons with physical disabilities, finding that laws were needed to more fully
           protect [at that time] 43 million Americans with one or more physical or mental disabilities;
25
           [that] historically society has tended to isolate and segregate individuals with disabilities;
26
           [that] such forms of discrimination against individuals with disabilities continue to be a serious
27
           and pervasive social problem; [that] the nation's proper goals regarding individuals with
28
           disabilities are to assure equality of opportunity, full participation, independent living and
     ___________________________________________________________________________________________________________


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 1         economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
 2         unnecessary discrimination and prejudice denies people with disabilities the opportunity to

 3         compete on an equal basis and to pursue those opportunities for which our free society is
           justifiably famous.
 4
      20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
 5
           USC 12102):
 6
                a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate
 7
                     for the elimination of discrimination against individuals with disabilities; (2) to provide
 8
                     clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
 9                   Government plays a central role in enforcing the standards established in this Act on
10                   behalf of individuals with disabilities; (4) to invoke the sweep of Congressional
11                   authority, including the power to enforce the 14th amendment and to regulate
12                   commerce, in order to address the major areas of discrimination faced day to day by

13                   people with disabilities.
      21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public
14
           Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among
15
           the public accommodations identified under this title were “… a bakery, grocery store,
16
           clothing store, hardware store, shopping center, or other sales or rental establishment.”
17
      22. Pursuant to 42 USC 12182,
18
                a. “No individual shall be discriminated against on the basis of disability in the full and
19                   equal enjoyment of the goods, services, facilities, privileges, advantages or
20                   accommodations by any person who owns, leases, (or leases to), or operates a place of
21                   public accommodation.”
22    23. Among the general prohibitions against discrimination were included in 42 USC

23         12182(b)(1)(A)(i):
                a. Denial of Participation. It shall be discriminatory to subject an individual on the basis
24
                     of a disability or disabilities of such individual or class, directly, or through
25
                     contractual, licensing, or other arrangements, to a denial of the opportunity of the
26
                     individual or class to participate in or benefit from the goods, services, facilities,
27
                     privileges, advantages, or accommodations of an entity.
28
     ___________________________________________________________________________________________________________


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 1    24. Among the general prohibitions against discrimination were included in 42 USC
 2         12182(b)(1)(E):

 3              a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
                     services, facilities, privileges, advantages, accommodations, or other opportunities to
 4
                     an individual or entity because of the known disability of an individual with whom the
 5
                     individual or entity is known to have a relationship or association.
 6
      25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
 7
           and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.
 8
      26. Among the general prohibits against discrimination were included in 42 USC
 9         12182(b)(2)(A)(i) and (ii):
10              a. Discrimination. For purposes of subsection (a), discrimination includes:
11                        i. the imposition or application of eligibility criteria that screen out or tend to
12                             screen out an individual with a disability or any class of individuals with
13                             disabilities from fully and equally enjoying any goods, services, facilities,
14                             privileges, advantages, or accommodations, unless such criteria can be shown
15                             to be necessary for the provision of the goods, services, facilities, privileges,
16                             advantages, or accommodations being offered;
17                        ii. a failure to make reasonable modifications in policies, practices, or procedures,
18                             when such modifications are necessary to afford such goods, services, facilities,
19                             privileges, advantages, or accommodations to individuals with disabilities,
20                             unless the entity can demonstrate that making such modifications would
21                             fundamentally alter the nature of such goods, services, facilities, privileges,
22                             advantages, or accommodations.
23    27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
24         facility by persons with disabilities and their companions as established and set up by the
25         Defendants can be simply modified to eliminate disparate and discriminatory treatment of
26         persons with disabilities by properly constructing barrier-free handicapped access so as to
27         provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
28         disabled, people.
     ___________________________________________________________________________________________________________


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 1    28. The specific prohibition against retaliation and coercion is included in the Americans with
 2         Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):

 3              a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,

 4                   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or

 5                   on account of his or her having exercised or enjoyed, or on account of his or her having

 6                   aided or encouraged any other individual in the exercise or enjoyment of, any right

 7                   granted or protected by this Act.

 8              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available

 9                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for

10                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,

11                   respectively.

12    29. Among the specific prohibitions against discrimination were included, in 42 USC

13         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers

14         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and

15         (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not

16         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or

17         accommodations available through such methods are readily achievable." The acts of

18         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,

19         and the regulations promulgated thereunder, 28 CFA Part 36, et seq.

20    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times

21         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers

22         complained of here together were not removable, the removal of each individual barrier

23         complained of herein was "readily achievable."

24    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able

25         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to

26         the total financial resources of the entities involved, including any ‘parent’ companies.

27         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is

28         readily achievable, including, but not limited to, correcting and repairing the items set forth in
          the Paragraphs above. The changes needed to remove barriers to access for the disabled were
     ___________________________________________________________________________________________________________


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 1         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
 2         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
 3         defendants to remove all such barriers, defendants have failed to make the required services
 4         available through alternative methods, although such methods are achievable as required by 42
 5         USC §12181(b)(2)(a)(iv)(, v).)
 6    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
 7         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
 8         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
 9         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
10         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
11         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
12         complained of herein for the purpose of entry and provision of goods and service so long as
13         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
14         to allow entry and service to persons with disabilities such as Plaintiff's.
15    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
16         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
17         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
18         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
19         or on account of his or her having aided or encouraged any other individual in the exercise or
20         enjoyment of, any right granted or protected by this Act.”
21    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
22         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
23         such person has actual notice that a person or organization covered by this title does not intend
24         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
25         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
26         and other disabled persons to access this public accommodation. Therefore, Plaintiff seeks
27         injunctive relief pursuant to §308(a)(2) “...Where appropriate, injunctive relief shall also
28
     ___________________________________________________________________________________________________________


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 1         include requiring the provision of an auxiliary aid or service, modifications of a policy, or
 2         provision of alternative methods, to the extent required by this title.”
 3    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
 4         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
 5         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
 6         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
 7         costs,” are further specifically provided for by §505 of Title Ill.
 8         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 9
10         II. SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
11                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
12                   §19955 et seq.)
13
14    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
15         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
16         pled.
17    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
18         is to insure that public accommodations or facilities constructed in this state with private funds
19         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
20         the Government Code. For the purposes of this part "public accommodation or facilities"
21         means a building, structure, facility, complex, or improved area which is used by the general
22         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
23         convention centers. When sanitary facilities are made available for the public, clients or
24         employees in such accommodations or facilities, they shall be made available for the
25         handicapped.
26    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
27         provides in pertinent part, "accommodations constructed in this state shall conform to the
28         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
     ___________________________________________________________________________________________________________


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 1         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
 2         and is applicable to all public accommodations constructed or altered after that date. On
 3         information and belief, portions of the subject Business building and facilities were
 4         constructed and/or altered after July 1, 1970, and substantial portions of said building and
 5         facilities had alterations, structural repairs, and/or additions made to such public
 6         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
 7         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
 8         et seq., upon such alteration, structural repairs or additions per California Health and Safety
 9         Code §19955.
10    39. Pursuant to authority delegated by the California Government Code, the State Architect
11         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
12         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
13         Regulations, and these regulations must be complied with as to any alterations and/or
14         modifications of the Business’ facilities after that date. Construction changes occurring prior
15         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
16         requirements, the American Standards Association Specifications, A117.1 -1961. On
17         information and belief, at the time of the construction modification and of the Business’
18         building and facilities, all buildings and facilities covered were required to conform to each of
19         the standards and specifications described in the American Standards Association
20         Specifications and/or those contained in Title 24 of the California Administrative Code (now
21         known as Title 24, California Code of Regulations.)
22    40. Public facilities such as the subject Business are public accommodations or facilities within
23         the meaning of California Health and Safety Code §19955.
24    41. It is difficult or impossible for persons with physical disabilities who use walkers, wheelchairs,
25         canes, and service animals to travel about in public to use a facility with the defects set forth
26         above as required by Title 24 of the California Code of Regulations and the Americans with
27         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
28         provide handicap accessible public facilities, persons with disabilities are unable to enter and
     ___________________________________________________________________________________________________________


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 1         use said facilities, and are denied full and equal access to and use of that facility that is
 2         enjoyed by other members of the general public.
 3    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
 4         conditions require the use of walkers, wheelchairs, canes, and service animals, are unable to
 5         use public facilities on a “full and equal” basis unless each such facility is in compliance with
 6         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
 7         that portion of the public whose rights are protected by the provisions of California Health &
 8         Safety Code §19955, et seq.
 9    43. The California Health and Safety Code was enacted to “ensure that public accommodations
10         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
11         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
12         accommodations” are defined to include facilities like this one.
13    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
14         Defendants have not made accessible the facilities at the Business as set forth above.
15    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
16         caused the subject buildings and facilities constituting the Business to be constructed, altered
17         and maintained in such a manner that persons with physical disabilities were denied full and
18         equal access to, within and throughout said buildings and were denied full and equal use of
19         said public facilities, and despite knowledge and actual and constructive notice to such
20         Defendants that the configuration of this facility, and/or buildings was in violation of the civil
21         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
22         ownership, operation, maintenance and practices of such public facilities are in violation of
23         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
24         the laws of California.
25    46. On information and belief, the subject building constituting the public facilities of the Business
26         have denied full and equal access to Plaintiff and other persons with physical disabilities in
27         other respects due to non-compliance with requirements of Title 24 of the California Code of
28         Regulations and the California Health & Safety Code §19955, el seq.
     ___________________________________________________________________________________________________________


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 1    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
 2         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
 3         other access lawsuits, communications with operators of other similar facilities, and other
 4         property owners regarding denial access, communications with Plaintiff and other persons
 5         with disabilities, communications with other patrons who regularly visit there,
 6         communications with owners of other businesses, notices and advisories they obtained from
 7         governmental agencies through the mails, at seminars, posted bulletins, television, radio,
 8         public service announcements, or upon modification, improvement, alteration or substantial
 9         repair of the subject premises and other properties owned by these Defendants, newspaper
10         articles and trade publications regarding the Americans with Disabilities Act of 1990, and
11         other access law, and other similar information. The scope and means of the knowledge of
12         each defendant is within each defendant’s exclusive control and cannot be ascertained except
13         through discovery.
14    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
15         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
16         the law protecting access for persons with physical disabilities and prohibiting discrimination
17         against persons with physical disabilities, and to take such action both in his own interests and
18         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
19         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
20         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
21         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
22         §§54.3.
23    49. Defendants, and each of them, at times prior to and including the Visit Date, and continuing to
24         the present time, knew or should have known that persons with physical disabilities were
25         denied their rights of equal access to all portions of this public facility. Despite such
26         knowledge, Defendants failed and refused to take steps to comply with the applicable
27         handicapped access statutes; and despite knowledge of the resulting problems and denial of
28         civil rights thereby suffered by Plaintiff and other similarly situated persons with disabilities,
     ___________________________________________________________________________________________________________


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 1         including the specific notices referred to in this Complaint. Defendants have failed and
 2         continue to fail to take action to grant full and equal access to persons with physical
 3         disabilities in the respects complained of hereinabove. Defendants and each of them have
 4         carried out a course of conduct of refusing or neglecting to respond to, or correct complaints
 5         about, denial of handicap access. Such actions and continuing course of conduct by
 6         Defendants, evidence conduct in conscious or irresponsible disregard for the rights or safety of
 7         Plaintiff and of other similarly situated persons.
 8    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
 9         members of the public, and have evidenced actual or implied malicious intent towards those
10         members of the public, such as Plaintiff and other persons with physical disabilities who have
11         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
12         day-to-day basis to correct these problems evidences despicable conduct in conscious
13         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
14    51. Plaintiff specifically does not pray for an award of treble damages against Defendants, and
15         each of them, pursuant to California Civil Code §54.3.
16    52. As a result of the actions and failure of Defendants, and each of them, and as a result of the
17         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
18         including his right to full and equal access to public facilities, was embarrassed and
19         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
20         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
21         chagrin, disappointment and worry, naturally associated with a person with a physical
22         disability being denied access to a public accommodation.
23         WHEREFORE, Plaintiff prays for an injunction under this statute as hereinafter stated.
24
25         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
26                   ACTS (California Civil Code §§54, 54.1 and 54.3)
27
28
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 1    53. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 2         allegations contained in paragraphs 1 to 52 above and incorporates them herein as if separately
 3         pled.
 4    54. The public facilities above-described constitute public facilities and public accommodations
 5         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
 6         which members of the public are invited. The aforementioned acts and omissions of
 7         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
 8         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
 9         also in violation of the provisions of Title 24 of the California Code of Regulations.
10    55. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
11         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
12         54.3, to wit:
13              a. Individuals with disabilities shall have the same right as the ...general public to full and
14                   free use of the streets, highways, sidewalks, walkways, public buildings, public
15                   facilities, and other public places. (California Civil Code §54(a).)
16              b. Individuals with disabilities shall be entitled to full and equal access, as other members
17                   of the general public, to accommodations, advantages, facilities, and privileges of all
18                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
19                   boats, or any other public conveyances or modes of transportation (whether private,
20                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
21                   adoption agencies, private schools, hotels, lodging places, places of public
22                   accommodation, amusement or resort, and other places to which the general public is
23                   invited, subject only to the conditions and limitations established by law, or state or
24                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
25    56. On or about the Visit Date, Plaintiff suffered violations of California Civil Code §§54 and 54.1
26         in that he was denied full and equal enjoyment of the goods, services, facilities and privileges
27         of the Business as set forth in herein above. Plaintiff was also denied full and equal access to
28         other particulars, including, but not limited to, those described herein above. Plaintiff was also
     ___________________________________________________________________________________________________________


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 1         denied use of facilities that he was entitled to under Title Ill of the Americans with Disabilities
 2         Act of 1990.
 3    57. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
 4         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
 5         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
 6         has suffered a violation of his civil rights, including, but not limited to, rights under California
 7         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
 8         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
 9         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
10         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
11         services, and privileges, all to his damages as prayed hereinafter in an amount within the
12         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
13         against Plaintiff on the sole basis that Plaintiff is disabled.
14    58. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
15         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
16         §52(a), but not including any trebling of statutory damages, nor actual damages.
17    59. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
18         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
19         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
20         facilities by the disabled, and those individuals associated with or accompanied by a person
21         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
22         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
23         California Civil Code §52. Additionally, Plaintiff's lawsuit is intended not only to obtain
24         compensation for damages to Plaintiff, but also to compel the Defendants to make their goods,
25         services, facilities and privileges available and accessible to all members of the public with
26         physical disabilities, justifying public interest attorneys' fees pursuant to the provisions of
27         California Code of Civil Procedure §1021.5.
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 1    60. The acts and omissions of Defendants in failing to provide the required accessible facilities
 2         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
 3         of 1990 and refusal to make remedial alterations to their facilities and other elements as
 4         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
 5         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
 6         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
 7         established policy, practice, and procedure of refusing and denying entry and/or use of
 8         facilities, thereby denying services to a person with disabilities and the companions thereor,
 9         evidence malice and oppression toward Plaintiff and other disabled persons.
10    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
11         procedure for entry into said Business as hereinabove described.
12    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
13         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
14         has continually been denied his full and equal enjoyment of the subject facilities at the
15         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
16         discriminatory policy in place as hereinabove described.
17    63. The acts and omissions of Defendants as complained of herein in failing to provide the
18         required accessible facilities subsequent to the enactment date and compliance date of the
19         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
20         alterations to the architectural barriers as stated herein and in failing to establish practices,
21         policies and procedures to allow safe access by persons who are disabled are continuing on a
22         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
23         members of the public who are disabled from full and equal enjoyment of the subject Business
24         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
25         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
26         inferior and second class citizen and serve to discriminate against him on the sole basis that he
27         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
28         achieve full and equal enjoyment of the goods and services of said Business as described
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 1         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
 2         injury to Plaintiff if not enjoined by this court.
 3    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
 4         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
 5         and to require Defendants to comply forthwith with the applicable statutory requirements
 6         relating to the full and equal enjoyment of goods and services as described hereinabove for
 7         disabled persons pursuant to the ADA. Plaintiff further requests that the court award statutory
 8         costs and attorneys' fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all
 9         as hereinafter prayed for.
10
11   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
12   allowed by statute and according to proof.
13
14         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
15                   RIGHTS ACT (California Civil Code §51 and §51.5.)
16
17    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
18         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
19         pled.
20    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
21         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
22         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
23         accommodations, advantages, facilities, privileges or services in all business establishments of
24         every kind whatsoever.”
25    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
26         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
27         violation of this section.”
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 1    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
 2         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
 3         with any person in this state because of the race, creed, religion, color, national origin, sex,
 4         disability of the person or of the person's partners, members, stockholders, directors, officers,
 5         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
 6    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
 7         and 51.5, Plaintiff is entitled to the rights and remedies to statutory damages of California
 8         Civil Code §52, as well as reasonable attorneys' fees and costs, as allowed by statute,
 9         according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
10    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is filed on behalf of
11         a high-frequency litigant, as defined; (b) 22; (c) obtain food and drink in the Oakland area; (d)
12         to obtain food and drink.
13    71. WHEREFORE, Plaintiff prays that this court award damages and provide relief as follows:
14
15                                                 PRAYER FOR RELIEF
16   Plaintiff prays that this court award damages and provide relief as follows:
17
18       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
19   criteria, policy, practice and procedure permitting entry into the subject Business in
20   the City of Oakland, California, for the purpose of obtaining the goods and services accorded
21   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, et seq., and Title Ill of
22   the Americans with Disabilities Act of 1990, and grant injunctive relief requiring that Defendants
23   repair and render safe to disabled persons, and otherwise make accessible, all public areas of the
24   Business’ business area, including, but not limited to, each of the barriers to access identified
25   above, and make such facilities “readily accessible to and usable” by individuals with disabilities
26   according to the standards of Title 24 of the California Administrative Code, California Health &
27   Safety Code §19955 et seq., and Title Ill of the Americans with Disabilities Act of 1990 and the
28   standards of ADAAG; and prohibiting operation of the Business located in the City of Oakland,
     ___________________________________________________________________________________________________________


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 1   California, as a public facility until Defendants provide full and equal enjoyment of goods and
 2   services as described hereinabove to disabled persons, including Plaintiff.
 3       2. Statutory damages, according to proof, pursuant to California Civil Code §52 (minimum
 4            statutory damages of $4,000 per visit x 4 visits for a total minimum statutory damages of
 5            $16,000).
 6       3. Prejudgment interest on all compensatory damages;
 7       4. Remedies and Procedures available under Americans with Disabilities Act of 1990, §§I
 8            07,203 and 308;
 9       5. An Injunction under the ADA, and under California Civil Code §52 and §54, and California
10            Health and Safety Code §19953 et seq. to remove the barriers to disabled access;
11       6. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
12            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
13            to the provisions of California Civil Code §§52, and 54.3, California Code of Civil
14            Procedure §1021.5, and Americans with Disabilities Act of 1990 (42 U.S.C. §12205); and
15       7. Grant such other and further relief as the court may deem just and proper.
16
17   /s/ Richard A. Mac Bride
18   Richard A. Mac Bride, Attorney for Plaintiff
19   Date: August 15, 2022
20
21                                                 REQUEST FOR JURY TRIAL
22
23   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
24   /s/ Richard A. Mac Bride
25   Richard A. Mac Bride, Attorney for Plaintiff
26   Date: August 15, 2022
27
28
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 1                                                 VERIFICATION
 2   I, Richard Sepulveda, plaintiff herein, hereby swear under penalty of perjury under the laws of the
 3   State of California as follows: I am familiar with the contents of this complaint and verify that the
 4   facts alleged are true and correct according to my personal knowledge, except as to those matters
 5   that are pled on information and belief, and as to those matters, I have reason to believe that they
 6   are true.
 7
 8   /s/ Richard Sepulveda
 9   Richard Sepulveda
10   Date: August 15, 2022
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